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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,        )
               Plaintiff,        )
                                 )
          v.                     )   Civil Action No. 07-11194-MBB
                                 )
$572,204 IN UNITED STATES        )
CURRENCY;                        )
               Defendant.        )
                                 )
WINSTON H. CONKLING,             )
                                 )
                Claimant.        )

          GOVERNMENT’S OPPOSITION TO MOTION TO SUPPRESS

     Claimant Winston Conkling (Claimant), the owner of a truck

and horse trailer (together, the Trailer) that were stopped on

Interstate 90 by a Massachusetts State Police Trooper, seeks to

challenge the stop and the subsequent search of the Trailer under

the Fourth Amendment.   However, as demonstrated below, neither

the stop nor the subsequent search violated Claimant’s right to

be free from unreasonable governmental intrusion.        Accordingly,

Claimant’s motion to suppress should be denied, and this case

should proceed to discovery, dispositive motions, and, if

necessary, trial.

               NO EVIDENTIARY HEARING IS APPROPRIATE

     In a motion to suppress, it is movant’s burden to

demonstrate that facts are in dispute.      United States v. Jiminez,

419 F.3d 34, 42 (1st Cir. 2005).     United States v. Staula, 80

F.3d 596, 603 (1st Cir. 1996) (“the [movant] must show that there

are factual disputes which, if resolved in his favor, would
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entitle him 7.1(B)(1).        Claimant has not set forth any such

dispute.1     Therefore, under clear First Circuit law, there is no

basis for an evidentiary hearing.          Staula, 80 F.3d at 603 (“A

hearing is required only if the movant makes a sufficient

threshold showing that material facts are in doubt or dispute,

and that such facts cannot reliably be resolved on a paper

record); United States v. LaBonte, 70 F.3d 1396, 1412-13 (1st

Cir. 1995) (a district court need not convene an evidentiary

hearing when presented with “no more than conclusory

prognostications and perfervid rhetoric”); United States v.

Lilly, 983 F.2d 300, 310-11 (1st Cir. 1992); United States v.

Panitz, 907 F.2d 1267, 1273 (1st Cir. 1990).

     Accordingly, the Court should decide this case based on the

undisputed facts, set forth in the Affidavit of Jeff Commander,

Docket Entry 1-2, (the Commander Affidavit) and synopsized in the

Claimant’s motion.2




     1
      Claimant’s only affidavit is the legal conclusion of
Claimant’s attorney that the facts alleged by the government did
not support a legal search. Docket 16, ¶ 3. Nothing in this
affidavit disputes the facts set forth under oath in the
Complaint and supporting Affidavit. See Docket 16, passim.
     2
      The government has compared the “Anticipated Facts” set
forth in Claimant’s motion (hereafter “Claimant’s Facts” or CF)
with the Commander Affidavit or CA, and notes that Claimants
Facts are [despite some clerical errors] a fair synopsis of the
facts set forth in the Commander Affidavit. The government
therefore will not recite the facts again here, but instead sets
out the relevant facts in part B, below.

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                               ARGUMENT

     Fourth Amendment rights are personal and cannot be

vicariously asserted.   United States v. Salvucci, 448 U.S. 83,

85-87(1980) (person who challenges the legality of a search must

establish that he, himself, was the victim of an invasion of

privacy);   Alderman v. United States, 394 U.S. 165, 171-72

(1969)(suppression can be urged only by those whose rights were

violated and not by those who are aggrieved only by the

introduction of damaging evidence).       Therefore, in order to move

to suppress the fruits of a search or seizure, the movant must

demonstrate that his own rights to free from governmental

intrusion were affronted.    United States v. Torres, 162 F.3d 6,

10 (1st Cir. 1998); United States v. Kimball, 25 F.3d 1, 5 (1994)

(citing United States v. Soule,        908 F.2d 1032, 1034 (1st Cir.

1990) (citing Rakas v. Illinois, 439 U.S. 128, 131 n. 1 (1978).

Although this is not technically a question of “standing,”

nevertheless, the term standing is used by courts as a shorthand

method of referring to the question of whether the movant’s own

Fourth Amendment rights were implicated by the challenged

governmental action.    Kimball, 25 F.3d at 5 n.1.      The burden is

on the movant, not the government, to show standing – i.e., that

his own rights, not the rights of a third party to the

proceeding, were violated.

     Here, Claimant challenges two governmental actions related

to the Trailer:   (1) the stop and (2) the search.       However, as


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demonstrated below, Claimant has no standing to challenge the

stop of the Trailer.

     (A)    Only the Occupants of a Stopped Vehicle Suffer a Fourth
            Amendment Deprivation.

     It is well established that a police officer’s act of

stopping a vehicle and detaining its occupants constitutes a

seizure under the Fourth Amendment.      Delaware v. Prouse, 440 U.S.

648, 653 (1979).    As explained by the First Circuit in Kimball,

25 F.3d at 5, all occupants of a vehicle have a cognizable Fourth

Amendment interest during a traffic stop.       However, as the First

Circuit made clear, the interest is triggered by being personally

present, personally detained, and therefore being personally

affected.   Id.    Traffic stops cause anxiety to the persons in the

vehicle.    Id., citing Prouse, 440 U.S. at 657.      Further, “the

interest in freedom of movement and the interest in being free

from fear and surprise are personal to all occupants of the

vehicle.”    Id.   The occupants “have their travel interrupted by

the sight of a state police cruiser or police car looming large

in the rear mirror, have their identifying documents inspected by

the trooper or policeman, and may even be asked to leave [the]

vehicle . . . ”    Id.

     By contrast, persons who are not occupants of the vehicle

suffer none of these intrusions.       An owner of contraband stashed

in a vehicle, an owner of a vehicle, or an owner of a vehicle and

its contraband is not personally affected by a vehicle stop if he



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is not personally present at the stop at the time it occurs.              The

purpose of a stop, its duration, the number of officers present,

whether the occupants are required to leave the vehicle or can

stay in it – these factors, often critical to whether an

investigatory stop exceeds Fourth Amendment authority,             do not

impact persons who are not physically present.            For that reason,

such persons have not suffered a Fourth Amendment deprivation,

and they therefore do not have “standing” to challenge the stop.

     The Seventh Circuit addressed this question squarely in

United States v. Powell, 929 F.2d 1190, 1194 (7th Cir. 1991),

where the owner of a pickup truck attempted to challenge the stop

of the truck for a traffic law infraction.           Id. at 1192-94.      The

owner had entrusted the truck to another person, who was stopped

by a state trooper for changing lanes without signaling.3             Id. at


     3
      In Powell, the Seventh Circuit concluded that the failure
to signal was not actually a traffic infraction, and therefore in
that case, the stop was in fact improper – but only violated the
rights of the persons actually in the vehicle. Id. at 1994. In
the instant case, the uncontroverted facts are that the driver of
the Trailer was weaving, and he admitted that he was weaving.
Claimant’s Facts at ¶ 15; Commander Affidavit at ¶ 21.
Moreover, law enforcement officers had surveilled the Trailer for
the prior two days and observed conduct that was consistent with
the distribution of controlled substances and the collection of
drug proceeds occurring by persons with prior drug trafficking
records. Claimant’s Facts at ¶ 12, ¶6; Commander Affidavit at
¶ 18, ¶ 12. These facts clearly justified stopping the Trailer.
The driver’s nervousness and visible shaking when asked simple
questions, together with his false answers to those questions,
justified prolonging the stop. Claimant’s Facts at ¶ 16;
Commander Affidavit at ¶ 22. Trooper Kane then had his K-9,
Riggs, a certified narcotics dog since 2002, walk around the
Trailer. Claimant’s Facts, ¶ 18 & n.1; Commander Affidavit ¶ 25
                                                   (continued...)

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1191-92.        At the time of the stop, the owner was more than one

thousand miles away.          Id. at 1195.     On this basis, the Seventh

Circuit concluded that the owner had not suffered any

constitutionally cognizable injury by the stop of his truck.

Undertaking the same analysis as the First Circuit did in

Kimball, supra, the Seventh Circuit noted that a motorist has an

interest in the “freedom from random, unauthorized, investigatory

seizures” and an interest in avoiding the “‘substantial anxiety’”

such stops may create.           Id. citing Prouse, 440 U.S. at 657.

However, because of the nature of the intrusion, the Seventh

Circuit concluded that it is inherently “personal to those in the

car when it occurs.”          Id.   As the Seventh Circuit explained:

                The personal nature of the interests
                implicated by a vehicle stop persuade us that
                a vehicle owner who is not in his car at the
                time it is stopped should not, absent unusual
                circumstances not present in this case,
                having standing to object to the stop.

Id.     The Seventh Circuit recognized that under some extraordinary

circumstance, a stop might implicate an owner’s possessory

interests, but found that that was not present in the case before

it, because the owner was over 1,000 miles from the point of the

stop.        “The only anxiety the stop caused [the owner] came with



        3
      (...continued)
& n.1. A dog sniff on the exterior of a vehicle at a traffic
stop “does not implicate legitimate privacy interests.” Illinois
v. Caballes, 543 U.S. 405, 409 (2005). Accordingly, while
Claimant has no Fourth Amendment right to challenge the stop, the
government submits that the stop was in fact wholly lawful.

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the knowledge that the [fruits obtained from the search that took

place after the stop] were used as the basis for [the owner’s]

arrest and might be introduced as evidence against him at trial.”

As such, the truck owner’s motion to suppress the evidence was

nothing more than an “‘attempt to vicariously assert violations

of the Fourth Amendment rights of others’ that Alderman and its

progeny have condemned.”    Id. at 1196.

     Judge Saris addressed similar facts in United States v.

Ruiz, 345 F. Supp.2d 171, 173 (D. Mass 2004).       In Ruiz, two

persons had borrowed a motor home for a cross country trip from

Arizona to Vermont.   Id.   They were stopped for a traffic

violation in Missouri, and as a result, more than three hundred

pounds of marijuana was found in a closet in the motor home.          Id.

An owner of the motor home, Ruiz, was charged with drug

trafficking as a result and sought to challenge the stop.         Id.

Judge Saris held that Ruiz had no standing to challenge the stop,

because he had been in court in another state at the time that it

occurred, and therefore, he did not have “a legitimate

expectation of privacy ‘in using the highways undisturbed by

random and intrusive police action and the anxiety it causes.’”

Id. (quoting Powell with approval). See also United States v.

$1,790,021 in U.S. Currency, 261 F. Supp. 2d 310, 314-16 (M.D.

Pa. 2003)(Claimant had no right to suppress traffic stop, where

Claimant was not present at the stop, and therefore had no

legitimate expectation of privacy in the stopped vehicle).

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        Likewise, in the case at bar, Claimant has not – and cannot

– set forth any reason that the brief stop of the Trailer (prior

to its search) interfered with Claimant’s interest in the

Trailer.      According to the only evidence in the record, the owner

of the Trailer “flew back to Colorado from Boston” before the

stop, and was therefore more than 1,000 miles from the stop at

the time that it occurred.         See Claimant’s Facts ¶ 17; Commander

Affidavit ¶ 23.     The portion of the events of the stop that

occurred before the Trailer was searched simply had no impact on

the Claimant.     The only anxiety the stop produced for Claimant

occurred after Trooper Kane told Claimant that he had seized

money from the Trailer.       See Commander Affidavit ¶ 27.

        Accordingly, Claimant’s personal Fourth Amendment rights

were unaffected by the stop of the Trailer, he has no right to

challenge it through a suppression motion.

        (B)   Trooper Kane Had Probable Cause to Search the Trailer.

        As owner of the Trailer, Claimant does have a Fourth

Amendment right to challenge its search.          Powell, 929 F.2d at

1196.    However, that challenge fails because “[a] warrantless

search of an automobile will be upheld if ‘officers have probable

cause to believe that the vehicle contains contraband.’”            United

States v. Lopez, 380 F.3d 538, 543 (1st Cir. 2004).           The inquiry

focused on what the law enforcement agents knew at the time that

they searched the car.       Id.

        By the time the Trailer was searched, law enforcement

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officers were aware of the following:

     •    At 2:55 a.m. the previous day, the Trailer’s owner had
          paid cash for a room at the Hampton Inn Hotel in
          Braintree, MA (Hotel). CA ¶13
     •    The Trailer’s owner had taken out a second room at
          the Hotel 12 hours later, also with cash, but
          checked out without appearing to use the room.
          CA ¶¶13-14
     •    When the Trailer’s owner checked out, the Trailer
          registered in his name was left in the parking
          lot. CA ¶¶14-15
     •    A UHaul picked up someone who was lingering near
          the Trailer. CA ¶ 9
     •    A convicted drug trafficker arrived at the Hotel
          driving a rental car, carrying a duffel bag, and
          attempted to call the Trailer’s owner. When he was
          unsuccessful, he immediately left the Hotel with
          the same duffel bag and drove away. CA ¶¶11-12
     •    A Land Rover arrived and the occupants took 2 or 3
          duffel bags out of the Land Rover and placed them
          in the Trailer. CA ¶15
     •    The convicted drug trafficker returned, drove up
          next to the Trailer, and gave one of the Land
          Rover’s occupants a duffel bag, which he
          immediately placed into the Trailer. CA ¶16
     •    The Trailer was surveilled nearly continuously
          until it was pulled over in a traffic stop by
          Trooper Kane. CA ¶¶17-20
     •    The driver of the Trailer was not the Owner.         Cf.
          CA ¶21, CA ¶8
     •    The driver was nervous and visibly shaking.         CA ¶22
     •    The driver lied in response to simple questions.
          CA ¶¶22
     •    The driver professed not to know what was in the
          Trailer, while asserting “This is getting bad.” CA
          ¶23
     •    When the Trooper asked about the side door of the
          Trailer, the driver became exceedingly nervous and
          swore, stating “Oh (expletive) this is bad.” CA
          ¶24
     •    Riggs, a narcotics dog who has been certified
          annually for five years and who has successfully

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            found narcotics with exterior alerts over the past
            five years and whose reliability has not been
            challenged, alerted to the side door of the
            Trailer. CA ¶25

     Under the totality of the circumstances, the above facts

constitute probable cause to search the Trailer.        K-9 Riggs’ alert

alone arguably justified the search.      “[A] reliable canine sniff

outside a vehicle can provide probable cause to search the

vehicle.”   United States v. Brown, 500 F.3d 48, 57 (1st Cir.

2007); United States v. Lopez, 380 F.3d 538, 544 (1st Cir. 2004)(a

reliable drug dog alerting suggests that drugs are present but

concealed).   See also United States v. Brito-Melo, 05-10227-PBS,

Docket Entry 65 (slip opinion at page 18 of 22), 2006 WL 2559860

*8 (Sept. 5, 2006) (concluding that Riggs, the dog at issue here,

was a “properly trained and reliable drug detection dog,” and

indicating “A dog alert creates general probable cause to search a

vehicle.”)(citing United States v. Rosborough, 366 F.3d 1145, 1153

(10th Cir. 2004).

     Here, in addition to the alert by Riggs, law enforcement

officers had surveilled the Trailer and persons associated with it

for two days and concluded that their activities were consistent

with the distribution of drugs and collection of drug proceeds.

CA ¶¶ 2-3, 18.   They had observed duffel bags associated with this

activity being loaded into the Trailer.       CA ¶¶ 15-16.    Arguably,

this alone – even prior to the alert by K-9 Riggs – would have

provided probable cause.    However, in addition, the driver of the


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Trailer was exceedingly nervous, lied, and his demeanor during the

stop changed when he was asked about the side door to the Trailer.

CA ¶¶    See Brown, 500 F.3d at 57 (lies and inconsistencies by

driver as well as demeanor change during questioning were factors

in probable cause to search vehicle); see also Powell, 929 F.2d at

1196 (driver’s nervousness was a factor in probable cause to

search vehicle).      These factors, together with the alert by Riggs,

established probable cause to search the Trailer without a

warrant.     Brown,500 F.3d at 57; Lopez, 380 F.3d at 544; Powell,

929 F.2d at 1196.      Therefore, Claimant’s assertion that his rights

were violated by the search is without merit.

                                  CONCLUSION

        Claimant’s motion to suppress is without merit.         He has no

standing to challenge the stop of the Trailer, and the warrantless

search of Trailer was constitutionally permissible because the law

enforcement agents had probable cause to believe that the Trailer

contained contraband.       Accordingly, the government respectfully

requests that this Court deny Claimant’s Motion and allow this

case to proceed to discovery, dispositive motions, and, if

necessary, trial.

                                     Respectfully submitted,

                                     MICHAEL J. SULLIVAN
                                     United States Attorney,

                               By:   /s/Nancy Rue
                                     NANCY RUE
                                     Assistant U.S. Attorney
Dated:    February 8, 2008

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                         CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system
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                                 /s/ Nancy Rue
                                 Nancy Rue
                                 Assistant United States Attorney




Date: February 8, 2008




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